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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 307: ORDER
                                                     GRANTING IN PART AND DENYING
   Skonicki v. Monsanto Co.,                         IN PART MOTION TO EXCLUDE
   Case No. 3:20-cv-08053-VC                         EXPERT GOLDBERG; DENYING
                                                     MOTION FOR SUMMARY
                                                     JUDGMENT
                                                     Re: Dkt. No. 18956


       Monsanto’s motion to exclude the opinions of the plaintiff’s specific causation expert Dr.

Jack Goldberg is granted in part and denied in part. This ruling assumes the reader’s familiarity

with the facts, the applicable legal standard, the prior Daubert rulings in this MDL, and the

arguments made by the parties. See generally In re Roundup Products Liability Litigation, 390 F.

Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products

Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No.
2799); Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir. 2021).

       According to its Reply, Monsanto argues there are four grounds for excluding Dr.

Goldberg’s opinions: (1) he has no basis to rule in Roundup as a cause of the plaintiff’s

lymphoma; (2) he does not properly rule out other potential causes; (3) he has no basis for his

opinions about the plaintiff’s medical bills; and (4) he is not qualified to talk about judicial

decisions. Monsanto Reply (Dkt. No. 19508) at 1. Monsanto admits that the first ground has
already been ruled on, so its motion is denied as to Dr. Goldberg’s process for ruling in Roundup
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as a cause of lymphoma. Monsanto Reply at 2–3. The third ground is unrelated to NHL

causation, so it will be left for the trial court to rule on. See PTO No. 202 (Dkt. No. 9143).

       1. Monsanto’s arguments about Dr. Goldberg’s ruling out process focus on two potential

causes that it argues Dr. Goldberg didn’t rule out properly: (1) the plaintiff’s exposure to

substances other than Roundup (pool chemicals and gasoline), and (2) naturally occurring

genetic replication errors. Regarding the first, Monsanto says that Dr. Goldberg can’t reliably

rule out the possibility that the plaintiff’s exposure to pool chemicals or gasoline caused her

lymphoma because Dr. Goldberg doesn’t know whether the plaintiff had significant exposure to

pool chemicals or gasoline. But Monsanto hasn’t presented evidence that exposure to either of

these chemicals is a possible cause of lymphoma. Nor has it presented evidence to conclude there

actually was a significant exposure—just having a pool and driving a car are not enough on their

own. Monsanto can’t just point to any red herring and claim the plaintiff’s expert is unreliable

because they didn’t consider it. This part of its motion to exclude Dr. Goldberg is denied.

       Monsanto’s arguments about genetic replication errors barely address Dr. Goldberg’s

report and do not cite any deposition testimony in which it pressed him to explain his analysis. It

also selectively excerpts Dr. Goldberg’s report to exclude a portion of his discussion of natural

replication errors, which is actually fairly robust. Having failed to properly present the issue,

Monsanto has forfeited the right to seek to exclude Dr. Goldberg’s testimony on this basis.
       In any event, Dr. Goldberg offers two reasons for ruling out natural replication errors: (1)

the theory focuses on cell division in hematopoietic stem cells, whereas Skonicki’s cancer started

with DNA damage in a mature B cell, not a stem cell; and (2) Skonicki’s NHL was likely caused

by translocation (rather than a point mutation), which is not typically associated with natural

replication errors. A different plaintiff pointed out both of these points in their challenge to

Monsanto’s primary natural replication error expert, Dr. Tomasetti. See PTO No. 289 (Dkt. No.

17841) at 7–8. There, the Court found that Dr. Tomasetti had provided a scientifically plausible

explanation to address both arguments. But here, Monsanto only engages with the first. It cites
the report of its expert Dr. Jeffrey Craig, who says mature B cells also have the capacity for


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DNA replication errors at a low but not insignificant rate. See Expert Report of Dr. Jeffrey

William Craig, M.D., Ph.D. (Dkt. No. 18956, Ex. H) at 13. That may be true, but it doesn’t

entirely rebut Dr. Goldberg’s point that the natural replication error theories are focused on stem

cell replication. And it doesn’t address Dr. Goldberg’s second point at all. Monsanto may have

additional arguments to present in cross examination or trial, but its evidence here is not enough

to establish that Dr. Goldberg’s explanation is unreliable.

       2. The part of Monsanto’s motion that seeks to preclude Dr. Goldberg from offering

opinions about his interpretations of court decisions seems targeted at a line from his report

saying that the Ninth Circuit vacated a finding by the EPA that glyphosate is not likely to be

carcinogenic in humans because it was not supported by substantial evidence. The plaintiff did

not respond to Monsanto’s argument that Dr. Goldberg is unqualified to offer that kind of

testimony, so this part of Monsanto’s motion is granted.

       3. Since the plaintiff will be able to call Dr. Goldberg to present specific causation

testimony, Monsanto’s motion for summary judgment is denied.

       IT IS SO ORDERED.

Dated: January 14, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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